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  CITY AND COUNTY OF HONOLULU

                   IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF HAWAI‘I

   GERARD K. PUANA,                          CIVIL NO. 16-00659 JMS/WRP

              Plaintiff,                     INTERVENOR-APPLICANT CITY
                                             AND COUNTY OF HONOLULU’S
        vs.                                  RESPONSE TO PLAINTIFF’S
                                             FURTHER LETTER BRIEFING;
   KATHERINE P. KEALOHA, LOUIS               CERTIFICATE OF SERVICE
   M. KEALOHA, MINH-HUNG
   “BOBBY” NGUYEN, DANIEL
   SELLERS, NIALL SILVA, WALTER
   CALISTRO, DRU AKAGI, JOHN
   and/or JANE DOES 1-50,
                                             Trial Date: None
              Defendants.


      INTERVENOR-APPLICANT CITY AND COUNTY OF HONOLULU’S
         RESPONSE TO PLAINTIFF’S FURTHER LETTER BRIEFING

        INTERVENOR-APPLICANT CITY AND COUNTY OF HONOLULU

  (hereinafter “City”), pursuant to the Court’s Order (ECF No. 76), hereby submits its
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  response to Plaintiff’s further letter briefing (ECF No. 77).

        Plaintiff Gerard K. Puana requests leave to file a First Amended Complaint in

  his letter filed with the Court on August 14, 2020. FRCP 15(a)(2) provides leave to

  amend "shall be freely given when justice so requires." Further, a district court has

  discretion to allow a party to amend a pleading and may do so with "extreme

  liberality," Jackson v. Bank of Hawaii, 902 F.2d 1385, 1387 (9th Cir.1990) (internal

  citations omitted). In determining whether to allow amendment, courts consider: (1)

  whether the movant has acted with undue delay, bad faith or dilatory motive; (2)

  whether the opponent would be unduly prejudiced by amendment; (3) whether there

  have been repeated failures to cure, and (4) whether amendment would be futile. See

  Foman v. Davis, 371 U.S. 178, 182 (1962). Based on the review of Plaintiff’s August

  14, 2020 letter, it is difficult for City to take a formal position on this matter as

  Plaintiff’s letter failed to either attach a draft of the proposed complaint and/or

  outline, definitively, the new parties and/or claims Plaintiff proposes to amend.

        In the event that this Court is inclined to allow Plaintiff leave to file his First

  Amended Complaint, City requests that he be allowed to do so for the limited

  purpose of filing only the First Amended Complaint and that City (and any of the

  additional named Defendants who the City does not currently represent) reserves the

  right to file any and all requisite filings and/or motions when the case is formally

  reopened.



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        DATED: Honolulu, Hawai‘i, August 19, 2020.

                                PAUL S. AOKI
                                Acting Corporation Counsel

                                By: /s/ Traci Rei Morita
                                    TRACI REI MORITA
                                    Deputy Corporation Counsel

                                     Attorney for Intervenor-Applicant
                                     CITY AND COUNTY OF HONOLULU




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                    IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF HAWAI‘I

   GERARD K. PUANA,                           Civil No. CV16-00659 JMS/WRP

               Plaintiff,                     CERTIFICATE OF SERVICE

        vs.

   KATHERINE P. KEALOHA, LOUIS
   M. KEALOHA, MINH-HUNG
   “BOBBY” NGUYEN, DANIEL
   SELLERS, NIALL SILVA, WALTER
   CALISTRO, DRU AKAGI, JOHN
   and/or JANE DOES 1-50,

               Defendants.



                              CERTIFICATE OF SERVICE

        I hereby certify that, on the date and by the methods of service noted below, a

  true and correct copy of the foregoing was served on the following at their last known

  addresses as shown below:

        Served Electronically through CM/ECF:

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        GERARD K. PUANA
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        DATED: Honolulu, Hawai‘i, August 19, 2020.

                                PAUL S. AOKI
                                Acting Corporation Counsel

                                By: /s/ Traci Rei Morita
                                    TRACI REI MORITA
                                    Deputy Corporation Counsel
                                     Attorney for Intervenor-Applicant
                                     CITY AND COUNTY OF HONOLULU




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